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                IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF ARKANSAS


UNITED STATES OF AMERICA

v.                               NO. 4:05CR00141 GH

ERIC LLOYD TYLER,
RUTHIE MAE LITTLES, and
CHANGUS LEON BELL

              AMENDED PRELIMINARY ORDER OF FORFEITURE

     This matter came before the Court on the Motion of the

United States to amend the Preliminary Order of Forfeiture

entered on July 31, 2006, to include the forfeiture of $22,865.00

in U. S. Currency and to forfeit the interests of defendant

Changus Leon Bell in the currency.

     1.   The defendant, Changus Leon Bell, pled guilty to Count

1 of the Indictment and agreed to forfeit his interests in the

currency on August 31, 2006.

     2.   The United States requests that all of the above-stated

defendants, ERIC LLOYD TYLER, RUTHIE MAE LITTLES, and CHANGUS

LEON BELL shall forfeit to the United States the following:

     $22,865.00 in U. S. Currency

     WHEREFORE, the Preliminary Order of Forfeiture that was

entered on July 31, 2006, is amended to include the forfeiture of

$22,865.00 in U. S. Currency and to include the forfeiture of the

interests of defendant Changus Leon Bell in the currency.             The

United States shall have clear title to the property set forth

above following the Court’s disposition of all third-party
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interests, or, if none, following the expiration of the period

provided in Title 21, United States Code, Section 853(n)(2) for

the filing of third party petitions.

     The Court shall retain jurisdiction to enforce this Order,

and to amend it as necessary, pursuant to Fed.R.Crim.P. 32.2(e).

     IT IS SO ORDERED this 7th    day of September, 2006.




                                 UNITED STATES DISTRICT JUDGE
